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                                                                         CLERK, U.S. DISTRICT COURT



Clinton Brown
16821 Edgar Street
                                                                          12/17/22
Pacific Palisades, CA 90272                                                cs
                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                         BY: ___________________ DEPUTY


310-487-6453




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

Clintion Brown                                                    CASE NUMBER
                                                                      CV22-9203-MEMF(KS)
                                     PLAINTIFF/PETITIONER,
                                v.
                                                                                    REQUEST TO PROCEED
CLARK R. TAYLOR. AICP, L.A.COUNTY REGIONAL                                        IN FORMA PAUPERIS WITH
PLANNING                                                                          DECLARATION IN SUPPORT
                                             DEFENDANT(S).



I, Clinton Brown                                             , declare under penalty of perjury, that the foregoing is true and
correct; that I am the petitioner/plaintiff in the above entitled case; that in support of my motion to proceed without being
required to prepay fees, costs or give security therefore, I state that because of my poverty I am unable to pay the costs of
said proceedings or to give security therefore and that I am entitled to redress.

I further declare under penalty of perjury that the responses which I have made to the questions and instructions below are
true, correct and complete.

                               ✔
1. Are you presently employed? GYes          GNo
    a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your
         employer. $15,000 a month (intermittent), Atlas, Inc. 16821 Edgar Street, Pacific Palisades, CA 90272


    b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which
         you received.
2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form of self-employment?             ✔
                                                                    GYes         GNo
    b. Rent payments, interest or dividends?                        GYes         ✔
                                                                                 GNo
    c. Pensions, annuities or life insurance payments?              GYes         ✔
                                                                                 GNo
    d. Gifts or inheritances?                                       GYes         ✔
                                                                                 GNo
    e. Any other income (other than listed above)?                  GYes         ✔
                                                                                 GNo
    f. Loans?                                                       GYes         ✔
                                                                                 GNo
    If the answer to any of the above is yes, describe such source of money and state the amount received from each
    source during the past twelve (12) months: Self-Employment, $180,000




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3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
                             ✔
   accounts, if applicable.) GYes  GNo

    If the answer is yes, identify each account and separately state the amount of money held in each account for each of
    the six (6) months prior to the date of this declaration.
    Checking, typically either $0 or a negative balance. Once money goes in, it goes right out for expenses and business.

4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary
                                         ✔
   household furnishings and clothing)? GYes      GNo

    If the answer is yes, describe the property and state its approximate value: Yes, in-foreclosure and set for trustee's sale
     undetermined value until that time.

5. In what year did you last file an Income Tax return? 2021
    Approximately how much income did your last tax return reflect? -1,500,000

6. List the persons who are dependent upon your for support, state your relationship to those persons, and indicate how
    much you contribute toward their support:
     Erick Ordaz, Partner, $90,000




I understand that a false statement or answer to any question in this declaration will subject me to penalties for perjury. I
further understand that perjury is punishable by a term of imprisonment of up to five (5) years and/or a fine of $250,000
(18 U.S.C. Sections 1621, 3571).

                       California                                               Los Angeles
                         State                                                County (or City)


I, Clinton Brown                                                            , declare under penalty of perjury that the
foregoing is true and correct.




                Date                                                        Plaintiff/Petitioner (Signature)




                           REQUEST TO PROCEED IN FORMA PAUPERIS WITH DECLARATION IN SUPPORT
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